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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

TIFFANY LAGENIA NOELS, et al.,*
                              *
PLAINTIFFS                    *
                              *
v.                            *    Civil Action No: 8:17-cv-03218-GJH
                              *
                              *
OCWEN LOAN SERVICING LLC      *
et al.                        *
                              *
DEFENDANTS                    *
************************************************
 MOTION TO EXTEND TIME TO FILE RESPONSES TO DEFENDANTS’ MOTIONS
             TO DISMISS COMPLAINT AND REMAND CASE

     NOW COMES, Plaintiff, by and through her counsel, Marie Lott Pharaoh and moves this Honorable

Court for an extension of time to file the aforementioned Responses. The Plaintiff sets forth the following

in support of her Motion:

    1. Plaintiff filed her Complaint on November 1, 2017.

    2. Since that time, Plaintiff’s Counsel has been dealing with a family emergency.

    3. Her partner has been quite ill, requiring hospitalization and was recently released, but has since

         suffered a relapse.

    4. He is bedridden and needs assistance with daily activities.

    5. Counsel’s partner does not have any family members in the immediate area.

    6. Counsel has one family member in the area, her son, but he is helping his father care for a family

         friend who has been diagnosed with lung cancer.

    7.   Counsel is in the process of hiring another law firm to help her manage this case and her other

         work.

    8. Counsel will not be able to obtain any additional assistance, be it rehabilitation or nursing

         services, until after her partner sees his primary care physician on Friday, December 22, 2017.
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       WHEREFORE, Plaintiff respectfully requests additional time (10 days) to respond to

   Defendants’ Motions to Dismiss and Remand.


   December 18, 2017                                         Respectfully submitted,

                                                             /s/ Marie Lott Pharaoh
                                                             Marie Lott Pharaoh
                                                             Bar No: 11080
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                                                             Laurel, Maryland 20707
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                                                             mariepharaoh@gmail.com

                                                             Attorney for the Plaintiffs




                                          Certificate of Service

 I certify that on December 18, 2017 that a copy of the Motion to Extend Time will be served
via the Court’s CM/ECF system on Thomas F. Lucchesi, Esq., Counsel for Defendant Ocwen
Loan Servicing, LLC, and any other counsel of record.

                                                             /s/ Marie Lott Pharaoh
                                                                 Marie Lott Pharaoh




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